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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS

                                              )
IVAN LAGUNA and MARGARITA                     )
LOPEZ,                                        )
                Plaintiffs,                   )       C.A. No. 3:23-CV-30016-KAR
                                              )
v.                                            )
                                              )
LAZER SAFE, PTY, LTD,                         )
FIESSLER ELECTRONIK GmbH                      )
& CO., KG., ERMAK USA, INC.,                  )
ERMAKSAN TURKEY a/k/a                         )
ERMAKSAN MAKINA SANAYI                        )
VE TICARET A.S., and JOHN DOE                 )
DISTRIBUTOR,                                  )
                  Defendants.                 )
                                              )

                           MOTION TO DISMISS
                  OF THE DEFENDANT LAZER SAFE PTY LTD

        Pursuant to Fed. R. Civ. P. 12(b)92), defendant Lazer Safe Pty Ltd. (“Lazer

Safe”), moves to dismiss Plaintiffs’ Second Amended Complaint, for the following

reasons, and as set forth in the accompanying Memorandum of Law and Declaration of

Ian Costley:

        1. Lazer Safe is an Australian corporation, headquartered and operating

exclusively in Perth, Western Australia, drawn in to this lawsuit as, allegedly, a

manufacturer of some “component” of a press brake alleged to have injured plaintiff Ivan

Laguna;

        3. The “press brake” was not manufactured in Massachusetts, nor was the

component at issue allegedly shipped into Massachusetts. Lazer Safe has no operations,

employees, assets in the Commonwealth of Massachusetts. Lazer Safe ships no goods to
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Massachusetts, provides no services in Massachusetts, and derives no income in

Massachusetts;

       4. Lazer Safe is not subject to the jurisdiction of the Commonwealth of

Massachusetts, and, accordingly, this Court has no jurisdiction over Lazer Safe. The

Plaintiff’s Second Amended Complaint must be dismissed.

                                              Respectfully submitted,
                                              The Defendant,
                                              LAZER SAFE, PTY, LTD,
                                              By its attorneys,

                                              /s/ John J. Jarosak
                                              John J. Jarosak, BBO #545998
                                              Nora R. Adukonis, BBO #676932
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                             CERTIFICATE OF SERVICE

        I, John J. Jarosak, hereby certify the foregoing document filed through the ECF
system will be sent electronically to the registered participants as identified on the Notice
of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-
registered participants on December 6, 2023

                                              /s/ John J. Jarosak
                                              John J. Jarosak




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